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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF OKLAHOMA

(1) ALFRED D. PHELPS, III                                )
                                                         )
                 Plaintiff,                              )
                                                         )
vs.                                                      )       Case No.     22-cv-66-JFH
                                                         )
(1) KERR MACHINE CO.,                                    )
d/b/a Kerr Pumps and Flow Valve,                         )
                                                         )
                 Defendant.                              )

                                      NOTICE OF REMOVAL

         Defendant Kerr Machine Co., pursuant to 28 U.S.C.A. §§ 1331, 1441 and 1446, hereby

removes this action which is now pending as case number CJ-2022-1 in the District Court in and

for Murray County, State of Oklahoma (the “action”), to the United States District Court for the

Eastern District of Oklahoma. In support Defendant states as follows:

      1. Plaintiff Alfred D. Phelps, III, filed this civil action in the District Court of Murray County,

State of Oklahoma, on January 18, 2022, against “Kerr Machine Co. d/b/a Kerr Pumps and Flow

Valve.”

      2. Defendant was served with Petition and Summons in the action on January 28, 2022.

Accordingly, this Notice of Removal is timely filed within the thirty days allotted for removal by

28 U.S.C.A. § 1446(b).

      3. In his Petition, Plaintiff asserts claims against Defendant for alleged employment

discrimination in violation of 42 U.S.C. § 1981, Title VII of the Civil Rights Act of 1964, and

Oklahoma’s Anti-Discrimination Act. This entire action is removable under 28 U.S.C.A. §

1441(c)(1).
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   4. This Court has jurisdiction over this matter pursuant to 28 U.S.C.A. § 1331 because

Plaintiff’s claims arise under the federal statutes and acts of Congress.

   5. This Court has supplemental jurisdiction pursuant to 28 U.S.C.A. § 1367(a) because

Plaintiff’s state law claim is so related to the federal claims in the action, which are within the

Court’s original jurisdiction, that it forms part of the same case or controversy under Article III of

the United States Constitution. Plaintiff’s state and federal claims based on alleged employment

discrimination by Defendant arise out of a “common nucleus of operative fact.” See United Mine

Workers v. Gibbs, 383 U.S. 715, 725 (1966). “Judicial economy, convenience and fairness to

litigants” would all be served by the Court’s exercise of jurisdiction over Plaintiff’s state claim.

See id. at 726.

   6. Venue is proper before this Court because the action is currently pending in Murray

County, where Defendant is subject to personal jurisdiction, which is in the judicial district of the

Eastern District of Oklahoma. 28 U.S.C.A. § 1391.

   7. Pursuant to 28 U.S.C.A. § 1446(a) copies of all process, pleadings, and orders served upon

the parties in the action at the time of removal are attached hereto as Exhibits 1 through 4. Said

documents are as follows: Plaintiff’s Petition (Exhibit 1), Entries of Appearances for Plaintiff’s

counsel (Exhibit 2, collectively), Return of Service (Exhibit 3), and Entry of Appearance for

Defendant’s counsel (Exhibit 4).

   8. Pursuant to Local Civil Rule 81.2 of the United States District Court for the Eastern District

of Oklahoma, a copy of the state court docket sheet, as of the date of this filing, is attached hereto

as Exhibit 5.

   9. A copy of this Notice of Removal will be served on Plaintiff and filed in the District Court

of Murray County, State of Oklahoma, pursuant to 28 U.S.C.A. § 1446(d).



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   10. Plaintiff, on the face of his Petition filed in state court, demanded a jury trial prior to this

removal. See Fed. R. Civ. P. 81(c)(3)(A).

       WHEREFORE, Defendant removes this action to this Court pursuant to 28 U.S.C.A. §§

1331, 1441 and 1446 and invokes this Court’s jurisdiction.

       Dated: February 25, 2022.

                                                      Respectfully submitted,

                                                      s/ William W. Speed
                                                      William W. Speed, OBA# 19031
                                                      Sheila Southard, OBA# 21830
                                                      Braly, Braly, Speed & Morris, PLLC
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                                                      sheilasouthard@bbsmlaw.com

                                                      Attorneys for Defendant


                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 25th day of February 2022, I served the above and foregoing
Notice of Removal via United States mail, first-class postage pre-paid, on the following Attorneys
for Plaintiff:

       Mark E. Hammons
       Amber L. Hurst
       Brandon D. Roberts
       Hammons, Hurst & Associates
       325 Dean A. McGee Avenue
       Oklahoma City, OK 73102

                                                      s/ William W. Speed




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